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 7
                              UNITED STATES DISTRICT COURT
 8                          NORTHERN DISTRICT OF CALIFORNIA
                                    SAN JOSE DIVISION
 9
10 FEDERAL TRADE COMMISSION,                     Case No. 5:17-cv-00220-LHK-NMC
11           Plaintiff,                          NOTICE OF MOTION AND MOTION OF
                                                 NOKIA TECHNOLOGIES OY FOR LEAVE
12         v.                                    TO FILE AN AMICUS CURIAE BRIEF IN
                                                 SUPPORT OF DEFENDANT QUALCOMM
13 QUALCOMM INCORPORATED, a                      INCORPORATED’S OPPOSITION TO
14 Delaware corporation,                         MOTION FOR PARTIAL SUMMARY
                                                 JUDGMENT
                  Defendant.
15                                               Date:        October 18, 2018
                                                 Time:        1:30 pm
16                                               Location:    San Jose Courthouse, Courtroom 8
                                                 Judge:       Hon. Lucy H. Koh
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                                                                Case No. 5:17-cv-00220-LHK-NMC
                          MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2             PLEASE TAKE NOTICE THAT Nokia Technologies Oy (“Nokia”) hereby moves the

 3 Court for leave to submit an amicus curiae brief in support of Qualcomm Incorporated’s
 4 (“Qualcomm”) Opposition to Motion for Partial Summary Judgment (Dkt. No. 872-3). The
 5 proposed amicus curiae brief is attached as Exhibit 1, and a Proposed Order is attached as Exhibit
 6 2. This motion will be heard on October 18, 2018 at 1:30 pm, or as otherwise set by the Court.
 7 Though Nokia submits this Motion for Leave, this motion may be suitable for resolution without a
 8 hearing.
 9       I.       STANDARD FOR LEAVE TO FILE AN AMICUS CURIAE BRIEF

10             The Ninth Circuit has held that a district court has broad discretion in the appointment of

11 amicus curiae. California v. U.S. Dep’t of Labor, No. 2:13-cv-02069-KJM-DAD, 2014 WL
12 12691095, at *1 (E.D. Cal. Jan. 14, 2014) (citing Hoptowit v. Ray, 682 F.2d 1237, 1260 (9th Cir.
13 1982), abrogated on other grounds by Sandin v. Conner, 515 U.S. 472, 487 (1995)). There are no
14 strict prerequisites to qualify as an amicus curiae; rather, the party must “merely make a showing
15 that [its] participation is useful to or otherwise desirable to the court.” Infineon Techs. N. Am.
16 Corp. v. Mosaid Techs., Inc., No. C 02-5772 JF(RS), 2006 WL 3050849, at *3 (N.D. Cal. Oct. 23,
17 2006) (citation omitted). Accordingly, “[d]istrict courts frequently welcome amicus briefs from
18 non-parties concerning legal issues that have potential ramifications beyond the parties directly
19 involved.” Sonoma Falls Developers, LLC v. Nevada Gold & Casinos, Inc., 272 F. Supp. 2d 919,
20 925 (N.D. Cal. 2003).
21       II.      STATEMENT OF IDENTIFY AND INTEREST OF AMICUS CURIAE

22             Amicus curiae is Nokia Technologies Oy.1 Nokia2 is a leading innovator in the

23 telecommunications industry. Nokia has cumulatively invested approximately $140 billion in
24
25
     1
           No counsel for any of the parties authored any portion of this brief. No entity other than
26
   amicus curiae Nokia Technologies Oy monetarily contributed to the preparation or submission of
27 this brief.
   2
28 Oy, andReferences     to Nokia in this section include Nokia Technologies Oy and its parent, Nokia
            its affiliates.
                                                   -2-               Case No. 5:17-cv-00220-LHK-NMC
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 1 research and development relating to mobile communications over the past two decades, and as a
 2 result of this commitment, currently owns over 20,000 patent families. Nokia has also played a
 3 prominent role in developing technologies that are incorporated in the 2G, 3G, and 4G mobile
 4
     cellular standards that have been vital to the success of the global mobile telecoms market. Nokia
 5
     is a significant owner of cellular standards essential patents (“SEPs”), and has a significant
 6
     number of licensees to those cellular SEPs. Nokia remains at the forefront of developing cellular
 7
 8 technologies, including in emerging 5G standards, and continues to contribute technologies
 9 covered by its patented inventions as well as to renew its industry-leading patent portfolio.
10             Nokia also has been for many years and continues to be one of the largest manufacturers of
11 wireless, fixed, and optical telecommunications network equipment, and continues to invest
12
     heavily in related research and development, including over $5.5 billion in 2017. As part of its
13
     ongoing businesses, which employ over 100,000 and operate in around 130 countries, Nokia has
14
     also negotiated and secured licenses to cellular SEPs owned by other industry players.
15
16             Nokia has been involved in numerous patent cases in U.S. district courts, both as a plaintiff

17 and a defendant, including cases involving SEPs.
18      III.      PERSPECTIVE PROVIDED BY AMICUS CURIAE
19             As a leading innovator in the telecommunications industry and active participant in
20 standards development, Nokia’s perspective will assist the Court in evaluating issues raised in
21 FTC’s Motion for Partial Summary Judgment. Nokia’s understanding is that the various 3GPP
22 and 3GPP2 Organizational Partner IPR Policies have not required SEP owners to license cellular
23 SEPs at the component level. For international standards, like the 3GPP and 3GPP2 standards that
24 govern cellular telecommunications, consistency in (F)RAND license obligations across
25 Organizational Partners is necessary to ensure that SEP owners and implementers do not
26 potentially face a patchwork of differing practices across different jurisdictions. The FTC’s
27 Motion for Partial Summary Judgment, however, contravenes industry norms and would lead to
28 the ATIS and TIA IPR Policies being inconsistent with the ETSI IPR Policy. The FTC’s
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 1 arguments regarding the interpretations of the ATIS and TIA IPR Policies are novel and
 2 surprising, and could have unintended consequences for other SEP holders and the industry at
 3 large. Thus, Nokia’s participation concerns “potential ramifications beyond the parties directly
 4 involved.” Sonoma Falls Developers, 272 F. Supp. 2d at 925.
 5      IV.      CONCLUSION

 6            For the reasons set forth herein, Nokia respectfully requests that the Court grant this

 7 Motion for Leave to File an Amicus Curiae Brief in Support of Defendant Qualcomm
 8 Incorporated’s Opposition to Motion for Partial Summary Judgment.
 9            Nokia has conferred with counsel for the parties. Counsel for Qualcomm does not oppose

10 this Motion. Counsel for the FTC has not responded to provide its position on the Motion.
11
12 Respectfully submitted,
13 Date: October 3, 2018                            /s/ Ryan W. Koppelman
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